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                                      IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF MINNESOTA

                                                          SENTENCING
UNITED STATES OF AMERICA,                                    )                  COURT MINUTES - CRIMINAL
                     Plaintiff,                              )
                                                             )     Case No:             Criminal 12-295(2) PAM
                              v.                             )     Date:                July 24, 2013
                                                             )     Court Reporter:      Ron Moen
Julie Ann Campana,                                           )     Courthouse:          St. Paul
                                             Defendant.      )     Courtroom:           7D
                                                             )     Time Commenced: 10:00 am
                                                             )     Time Concluded:      10:30 am
                                                                   Sealed Hearing Time:
                                                                   Time in Court:       Hours & 30 Minutes

Before Paul A. Magnuson, United States District Judge, at St. Paul, Minnesota.

APPEARANCES:

      For Plaintiff:                   Amber Brennan
      For Defendant:                   Andrew H. Mohring : FPD 9 CJA 9 Retained 9 Appointed

      : Sentencing.

IT IS ORDERED:

Defendant is sentenced to: Custody of Bureau of Prisons for 36 months. Supervised release term 3 years.


      : Special conditions of :

                                                     See J&C for special conditions

      : Defendant sentenced to pay:
         : Restitution in the amount of $4,088.00.
         : Special assessment in the amount of $100 to be paid .

      9 Plea and plea agreement accepted.
      : Defendant released pending execution of sentence of imprisonment on same terms and conditions as
      previously released. The defendant shall surrender on August 19, 2013.
      9 Execution of sentence of fine suspended.
      : On Motion of the Gov't., Count 2 of the indictment is dismissed as to this defendant only.
      9 Motion for departure is 9 granted      9 denied.
      9 Defendant remanded to the custody of the U.S. Marshal.
                                                                                                       s/Suzanne M. Ruiz
                                                                                                             Calendar Clerk

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